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       UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                  Criminal Case No.: 24-265-1 (TNM)
vs.
ROBERT P. BURKE,
                  Defendant.


                                  RIGHT TO TESTIFY

      I understand that as a criminal defendant I have a fundamental constitutional right
to testify in my own behalf, that this right is personal to me, and that this fundamental
constitutional right cannot be waived or given up for me by my lawyer. I acknowledge
that this fundamental constitutional right has been explained to me by the United
States District Judge Trevor N. McFadden, presiding judge, and that it is my decision:


                       __ TO TESTIFY

                         ✓OT TO TESTIFY
       This the       / 3 � day of May, 2025.




                                    Attorney for Defendant




Tre or . c adden
United States District Judge
